 

Case 1:19-cr-00291-RDB Ugen hel ry Filed 07/12/19 Page 1 of 11
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Hi ,
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dissistant United States Attorney ey 36 S. Chartes Srreet AGAIN: 410-209-4800
Jason. Medinger@usdoj.gov OF EBalt (ipo: pore AGD 21201-3119 FAX: 410-962-2310
May 23, 2019

Hong Suk “Paul” Chung

Courtney B. Schaefer

Shulman Rogers, P.A.

12505 Park Potomac Avenue, 6th Flr.
Potomac, MD 20854

Re: United States v. William Sovke (D. Md.)

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Apreement”) that has been offered to your client, William Soyke (hereinafter “Defendant”), by
the United States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by June 14, 2019, it will be deemed withdrawn. The terms of the Agreement
are as follows:

Offense of Conviction ‘

1. The Defendant agrees to plead guilty to Count One of the Information, which
charges the Defendant with Conspiracy to Distribute and Dispense Oxycodone, Fentanyl,
Methadone, and Alprazolam, in violation of 21 U.S.C. § 846. The Defendant admits that the
Defendant is, in fact, guilty of the offense and will so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows: That on or about the time
alleged in the Information, in ihe District of Maryland:

a. The Defendani knowingly, willfully, and unlawfully agreed with one or more
persons to distribute and dispense: (1) a mixture or substance containing a detectable
amount of oxycodone, a Schedule II controlled substance; (ii) a mixture or
substance containing a detectable amount of fentanyl, a Schedule II controlled
substance; (iii) a mixture or substance containing a detectable amount of
methadone, a Schedule II controlled subsiance; and (iv) a mixture or substance
containing a detectable amount of alprazolam, a Schedule IV controlled substance,

 

GOVERNMENT'S EXHIBIT NO. __ |
“CASE NO.: LOB pl Ix pe |
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-IDENTIFICATION:

 

ADMITTED: JUL 12 2019

 
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outside the scope of professional practice and not for a legitimate medical purpose;
and

b, The participation by the Defendant was knowing and voluntary, and not by accident

 

 

 

 

 

 

 

 

 

 

 

or mistake.
Penalties
3. The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:
Count Statute Minimum | Maximum Supervised | Maximum| Special
Prison Prison Release Fine Assessment
Life (Max)
1 | 21U.S.C. N/A 20 years | 3 yrs, (Mand. | $1 million] $100
§ 846 Mi
in.)

a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons

has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ al! powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
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authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4, The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or wha were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors perempterily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

Qe. If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions,

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
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admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement. ,

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C, § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and.3742(e)) and
28 U.S.C. §§ 991 through 998, The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

a. This Office and the Defendant further agree that the applicable base offense
level is 30 pursuant to United States Sentencing Guidelines (“U.S.S.G.”) §§ 2D1.1{a)(5),
2D1.1(c)(5) to account for at least 1000 kilograms but less than 3000 kilograms of Converted Drug
Weight that was reasonably foreseeable to the Defendant and in furtherance of the conspiracy to
distribute and dispense oxycodone, fentanyl, methadone, and alprazolam.

b. This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a) based upon the Defendant's apparent prompt
recopnition and affirmative acceptance of personal responsibility for the Defendant's criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
1-level decrease in recognition of the Defendant’s timely notification of the Defendant’s intention
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to enter a plea of guilty. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S,G. § 3E1.1{a), and may decline to make a motion pursuant to U.S.8.G. § 3E1.1(b), if
the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offense; (iii) gives conflicting statements about the Defendant's involvement
in the offense; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way.

7. There is no agreement as to the Defendant's criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of crimina! conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Obligations of the Parties

9. At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable sentence, period of supervised release, and/or fine considering any
appropriate factors under 18 U.S.C. § 3553(a). This Office and the Defendant reserve the right to
bring to the Court’s attention all information with respect to the Defendant’s background,
character, and conduct that this Office or the Defendant deem relevant to sentencing, including the
conduct that is the subject of any counts of the Information. At the time of sentencing, this Office
will move to dismiss any open counts against the Defendant.

Waiver of Appeal

10.‘ In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant's conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute to which the Defendant is pleading guilty is unconstitutional, or on the ground that
the admitted conduct does not fall within the scope of the statute, to the extent that such challenges
legally can be waived.

b. The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
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Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release), except that the defendant reserves
the right to appeal any sentence that exceeds the final guidelines range calculated by the Court.

C. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Forfeiture

Il. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

12. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(D,
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.

13. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose ail assets and sources of income, to consent to ail requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

14. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Defendant’s Conduct Prior to Sentencing and Breach

15. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.
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16. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(¢)(1}(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1}(C)}—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(¢)(1)(C).

Court Not a Party

17. The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement, The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing

-findings different from those stipulated in this Agreement, or if the Court imposes any sentence up
to the maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations
under this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

18. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Robert K. Hur
United States Attorney
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fs/
Jason D. M er
Derek E. Hi
Assistant United States Attorneys

_ Thave read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attomey. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my gttorney.

G/ll/70 | g
Date

I am the Defendant’s attorney. I] have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

 

  
   

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“Hong suk “Paul” Chung
Courtney Schaefer
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ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

In or about 2011, Defendant WILLIAM SOYKE (the “Defendant”) was hired by Norman
Rosen and Howard Hoffberg to serve as a physicians’ assistant (“PA”) at Rosen Hoffberg
Rehabilitation and Pain Management, P.A. (“Rosen-Hoffberg”). He was employed by Rosen-
Hoffberg until the business was shutdown in or around February 2018. During his tenure, he
worked at both the Towson and Owings Mills offices of Rosen-Hoffberg, and was able to observe
and treat customers of both Dr. Rosen and Dr. Hoffberg who usually worked at the Towson and
Owings Mills offices, respectively.

Each new Rosen-Hoffberg customer was seen by a doctor initially, usually Dr. Rosen or
Dr. Hoffberg, who determined the new customer’s treatment plan and medication levels. The
Defendant would then see the customers for follow-up visits. As a PA, the Defendant had
independent privileges to prescribe controlled substance medication, but was required to operate
under a delegation agreement between himself and the owners of Rosen-Hoffberg.

During his time at Rosen-Hoffberg, the Defendant noticed that Dr. Rosen started customers
off at excessive dosage levels of opioids, including especially oxycodone. Dr. Rosen told the
Defendant that if a customer indicated the pain did not improve, the customer’s dosage of pain
medication should simply be continually increased. While the Defendant had autonomy to make
independent prescribing decisions, his decisions to lower customers’ dosages were often appealed
by the customers to Dr. Rosen, and Dr. Rosen would overturn his decision and reward the customer
with the higher dosages they requested. Dr. Rosen did not encourage the Defendant to lower the
dosages of customers’ pain medications; to the contrary, he encouraged the Defendant to maintain
the high levels Dr. Rosen initially prescribed or increase them.

Rosen-Hoffberg, unlike most other pain management medical practices, did not have a
“one strike and you’re out” policy. For example, Rosen-Hoffberg did not discharge customers for
failing a urine drug screen test, including if the customer tested positive for illicit drugs such as
cocaine and heroin. Nor did Rosen-Hoffberg discharge customers if they overdosed, Nor did
Rosen-Hoffberg discharge customers who were accused of selling their pills. Rather, the
customers with aberrant behavior would simply be required to return with greater frequency, which
only meant increased revenue for the practice because customers would have to pay for more visits.
Moreover, if a medical provider refused to see a customer because of past aberrant behavior, Dr.
Rosen would simply take over care of the customer and continue prescribing pain medication for
the customer at the previous level. These policies were consistent with “Rosen’s Rules,” one of
which was that “the patient, and our referral sources, are our customers. We work for them.”
However; the Defendant was aware that some of these customers overdosed and died after Dr.
Rosen assumed their care after ancther provider declined to continue to treat them.
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The Defendant had similar experiences with Dr. Hoffberg in which he saw Dr. Hoffberg
prescribe excessive levels of opioids; Dr. Hoffberg would overrule attempts by the Defendant to
lower customers’ dosages; and if a provider declined to treat the customer because of aberrant
behavior, Dr. Hoffberg would take over that customer’s care.

The Defendant believed that both Dr. Rosen and Dr. Hoffberg prescribed pain medication
to customers not for legitimate medical purposes and outside the bounds of the usual medical
practice and the standard of care. Rather, Drs. Rosen and Hoffberg appeared primarily interested
in appeasing the customers and providing them what they wanted so that the practice could retain
the customers and continue billing for their visits and prescriptions.

The Defendant was aware that Dr. Hoffberg was paid to be a “speaker” for a fentanyl-
based drug, Subsys, which was manufactured by Insys, Inc. The Defendant attended some of the
presentations provided by Hoffberg on Subsys. Each time, Dr. Hoffberg simply read the pre-
approved slides provided by the drug manufacturer. The Defendant was also aware that another
Rosen-Hoffberg medical provider, Dr. Roger Theodore, had a romantic relationship with the Insys
sales representative who covered Rosen-Hoffberg. In return, the Defendant was aware that some
of Hoffberg’s and Theodore’s customers were prescribed Subsys off-label, meaning they were
prescribed to customers who did not have the conditions for which the drug was approved by the
FDA.

The Defendant saw approximately 35 customers per day on a normal day. Prior to seeing
the customer, medical assistants would pre-fill out the customers’ prescriptions based on what the
customer received at the previous visit; the Defendant would simply need to affix his signature or
stamp to the prescription to activate it. This process of pre-filling out the prescriptions assumed
that the customers would receive the same dosages, even before the medical provider evaluated
the customer. This pre-filling procedure expedited the practice’s ability to process a customer and
then move on to the next customer.

The Defendant would typically bill insured customers under the 99214 CPT code based for
visits that lasted 15 minutes or less. He understood that the 99215 code was for a visit of 40
minutes or more and/or one involving a complex patient with other unusual co-morbidities.
However, on occasion, when Dr. Rosen would enter the examination room of a customer encounter
being conducted by the Defendant, Dr. Rosen would instruct the Defendant to bill 99215, even
though neither Dr. Rosen nor the Defendant spent 40 minutes or more with the customer and the
customer’s care was not complex. The Defendant on numerous occasions disagreed with Dr.
Rosen’s directive and declined to bill the encounter at the higher 99215 reimbursement rate.

The Defendant knew that many of the customers presenting tc Rosen-Hoffberg did not
have a legitimate medical need for the oxycodone, fentanyl, alprazolam, and methadone they were
being prescribed. Nevertheless, the Defendant issued prescriptions for these drugs to customers
without a legitimate medical need and outside the bounds of acceptable medical practice. In
several instances, the Defendant also engaged in sexual, physical contact with female customers
who were attempting to get prescriptions. Specifically, the Defendant would ask some female
customers to engage in a range of motion test, and while they were bending over, he would position
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himself behind them such that his penis would rub against the customers’ buttocks through their
clothes. He would also stroke some female customers’ hair, hug them, brush up against them, and
make sexually suggestive comments to them. The Defendant was aware that female customers
did complain to Dr. Rosen and Dr. Hoffberg about the Defendant’s behavior during visits;
however, Dr. Rosen and Dr. Hoffberg did not fire him. The Defendant saw the largest number of
customers at the practice and generated significant revenue for Rosen-Hoftberg.

The parties stipulate that the amount of controlled substances that was distributed by the
Defendant without a legitimate medical need and outside the bounds of medical practice, and that
was related to this conspiracy and reasonably attributable to the Defendant was at least at least
1000 kilograms but less than 3000 kilograms of Converted Drug Weight according to the Drug
Equivalency Tables in U.S.S.G. § 2D1.1.

SO STIPULATED: y—
J ason/i/ Medinger
Derek-E. Hines

Assistant United States Attorneys
